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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )
                                           )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                     )
                                           )
              Defendant.                   )


           DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO
       MODIFY CONDITIONS OF RELEASE FOR CHRISTMAS HOLIDAYS

       Paul J. Manafort, Jr., by and through counsel, hereby moves the Court to modify

his current conditions of release to permit him to be with family over the extended

Christmas weekend in New York, from December 22, 2017, until December 26, 2017.

Given the outstanding issues that need to be addressed based on the Court’s Order

regarding modification to Mr. Manafort’s release conditions dated December 15, 2017

(ECF #95), and with the holiday fast-approaching, the defendant seeks advance

permission to travel to New York for the reasons set forth below. Counsel for Mr.

Manafort and the Office of Special Counsel (“Government”) have conferred this

morning, and the Government has no objection.

       The current conditions of release for Mr. Manafort include, among other things, a

$10 million unsecured appearance bond, home confinement in Alexandria, VA, and

electronic GPS monitoring. In essence, the defendant requests that the Court transfer

these conditions (or similar conditions that the Court will find satisfactory) to his

Bridgehampton, NY, home for a limited period of duration (i.e., over the Christmas

holiday). The defendant has confirmed with Pretrial Services that the electronic GPS



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monitoring can be accomplished while Mr. Manafort is in New York.                The only

additional permission that the defendant requests in this Motion is that he be allowed to

travel over these few days between his Bridgehampton home and East Hampton, NY,

only a short distance away (less than ten miles), for the reasons explained below.

        The Manafort family has celebrated this religious holiday together for many years

despite the significant physical distances between them. More recently, the family has

sought to gather in New York because of the advanced age and physical impairments of

certain close family members.       Specifically, the age and/or infirmness of certain

individuals living in East Hampton, NY, now prevents them from traveling, or only

traveling with great efforts being made to do so. Family members from California,

Illinois, Connecticut and New York will be traveling to Bridgehampton to celebrate the

holiday.

        In addition to the age and medical conditions noted above, the Manafort family

also needed a home that could support the visiting family members. Attempting to

arrange for the gathering at the defendant’s Virginia condominium, for example, where

he is currently under home detention, would splinter the family’s regular religious

celebration by precluding attendance by close family members and by not providing

adequate accommodations for the other guests traveling significant distances to be with

their family.   The requested permission to travel freely – but only – between Mr.

Manafort’s house in Bridgehampton and his in-laws’ home in East Hampton is to allow

the family to celebrate Christmas together as best they can, given the physical limitations

of these close relatives.




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       The defendant, of course, would inform Pretrial Services of the proposed travel

dates and provide a detailed itinerary to the agency, posthaste, should the Court grant this

motion. He will agree to report in as frequently as the Court and/or Pretrial Services

believes necessary for this short trip. He will agree to electronic monitoring. Further,

Mr. Manafort will drive directly from the New York airport to the house in

Bridgehampton. He will agree to abide by a curfew (but would ask the Court for

permission to not be under such a curfew for December 24 should the family decide to

attend a midnight religious celebration of the holiday).

       In summary, the Court’s Order dated December 15, 2017, has raised additional

issues and documentation requirements that Mr. Manafort must address. These issues

and documentation requirements cannot be resolved or satisfied before the Christmas

holiday, so the defendant has made the instant motion to provide the Court with as much

advance notice as possible under the circumstances.         Since being placed on home

confinement on October 30, 2017 – which this Court has held in not the least restrictive

condition that will reasonably assure his appearance – Mr. Manafort has only sought to

modify his conditions of release once (for Thanksgiving).

       Defendant will prepare and file with Pretrial Services a detailed itinerary

including travel times, flight information, addresses and anticipated schedule for the trip.




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       WHEREFORE, the defendant respectfully moves this Court to modify his current

conditions of release for the period December 22, 2017 through December 26, 2017, as

outlined above.

Dated: December 18, 2017                         Respectfully submitted,



                                                 ______________________________
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